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                    Exhibit %
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            SUPREME COURT OF THE STATE OF NEW YORK
            COUNTY OF ONONDAGA
            ------------------------------------------------------------------X
            BLACKHAWK TACTICAL SECURITY                                         Index No.: 2017-EF-254
            SERVICES, LLC,
                                                Plaintiff,

                             -against-

            SYRACUSE CENTER, LLC,

                                                Defendant.
            ------------------------------------------------------------------X



                       REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
                                    DEFENDANT’S MOTION




                                                                          David C. Van Leeuwen, Esq.
                                                                          Natasa Colovic, Esq.
                                                                          PEYROT & ASSOCIATES, PC
                                                                          Attorneys for Defendant
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                                         PROCEDURAL HISTORY


                     Defendant filed the instant motion to dismiss on or about February 24,

            2017. Plaintiff requested an adjournment of the return date to May 18, 2017,

            which was accepted by the court. Thereafter, Plaintiff again requested an

            adjournment to June 29, 2017 on the condition that opposition papers would be

            filed by June 13, 2017. The court granted Plaintiff’s request by correspondence

            dated May 12, 2017. Exhibit A.

                     Now, despite the fact that Plaintiff had over three (3) months to submit

            opposition papers, Plaintiff files the opposition papers on June 22, 2017. As

            such, we respectfully request that same not be considered by the court.

                     Even if the court decides to consider the opposition papers, as more

            completely set forth herein, Platinff does not raise any legal or factual issues that

            would provide any basis to deny the pending application to dismiss.

                     As such, based on the foregoing together with the initial moving papers,

            the Defendant’s motion to dismiss must be granted in its entirety.




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                                                 ARGUMENT

                I. THERE IS NO BASIS FOR PLAINTIFF TO MAINTAIN THE NOTICE OF
                       PENDENCY OR THE MECHANICS LIEN AND BOTH MUST BE
                                       DISMISSED FORTHWITH

                     As set forth in the initial moving papers, claims are for money damages

            and are not properly secured by a Notice of Pendency. Shkolnik v. Krutoy, 32

            AD3d (2nd Dept. 2006); Alternate Energy Management Corp. v. Fontana, 141

            AD2d 482 (2nd Dept. 1988); In re Basso v. LO Electric et al., 2015 NY Slip Op

            50324(U), Sup. Ct. Putnam Co. 2015).

                     Plaintiff does not dispute that its claim is for money damage or cite any

            contrary legal authority on the issue. Plaintiff’s counsel improperly tries to claim

            that Plaintiff has a 1% interest in the property, but that is untrue. The agreement

            clearly states that the Plaintiff is entitled to “1% of the gross sale price” upon a

            sale, which would be a monetary figure. Exhibit B.

                     As such, the Notice of Pendency must be dismissed.

                     Similarly, the mechanic’s lien must also be dismissed as the services

            performed are not permanent and as such a mechanic’s lien is improper. Chase

            Lincoln First Bank v New York State Elec. & Gas Corp., 182 AD2d 906, 907 (3d

            Dept 1992); 270 Greenwich St. Assoc. LLC v Patrol & Guard Enters., Inc., 2010

            NY Slip Op 31667[U], [Sup Ct, NY County 2010]).

                     Plaintiff does not submit any opposition in this regard whatsoever and any

            mechanics lien’s filed must be discharged of record.




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                  II. THE DEFENDANT HAS COMPLIED WITH THE AGREEMENT AND
                       PLAINTIFF HAS BREACHED THE AGREEMENT AND OTHERWISE
                                 ACTED IMPROPERLY AND UNLAWFULLY



                     Plaintiff does not controvert that the payments were not made or that the

            the validity of the Modification is an issue in its opposition papers. In accordance

            with the clear terms of the Modification dated March 9, 2016, Defendant was

            required to make and did make two (2) separate payments in the amounts of

            $28,000.00 and $2,000.00 respectively. Plaintiff’s claim to 1% of the sale of the

            property is not yet ripe, as the property has not yet been sold. It should be noted

            that Plaintiff’s counsel drafted the Modification at issue.

                     Plaintiff attempts to raise two (2) arguments in opposition, that is, (i) the

            property listing was taken down, (ii) Defendant allegedly made additional

            payments to Plaintiff. However, neither of these claims provide a basis to deny

            Defendant’s motion to dismiss.

                     As stated above, the Modification was signed on March 9, 2016. Exhibit

            B. Subsequently, on May 11, 2016 a party in a Federal Action in the Southern

            District of New York moved for an order of attachment as against Defendant’s

            affiliate company. Defendant’s affiliate entity opposed the application, but the

            Judge granted an order of attachment on June 24, 2016. Exhibit C. Defendant’s

            affiliate has opposed and continues to oppose the attachment by way of motion

            and otherwise, but the order of attachment remains in effect. As such, Defendant

            cannot sell the property until the aforesaid order is lifted.




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                     As to the additional payments allegedly made, this is completely irrelevant

            to the matter at hand. Defendant was only obligated to comply with the

            Modification, and if it decided to make any additional payments voluntarily, that

            does not change the legal arrangement. Plaintiff cites no legal authority

            whatsoever as to how such payments would be relevant.

                     Merely two (2) months after signing the March 9, 2016 Modification

            agreement and receiving the $30,000.00, Plaintiff already began to violate the

            Modification agreement by making more and more frequent demands for

            additional payments, despite this being quite contrary to the agreement. More

            specifically, Plaintiff took a dual approach, both appealing for pity of “how hard

            thing were on him” and repeatedly threatening to stop service. See Cerrito Affd.

            ¶ 4.

                     Defendant did make some $4,000.00 payments, but such payments were

            voluntary and in response to threats by Plaintiff to breach the Modification,

            including but not limited to, improperly threatening to stop services at the subject

            property, sending inflated invoices, and misrepresentations and promises that

            additional security staff would be placed at premises, which upon information and

            belief are untrue. Id. ¶ 5.

                     It should also be noted that none of the $4,000.000 payments were

            applied to reduce the balance owed by Defendant and upon information and

            belief a representative of Plaintiff, Mr. Ciarmella has retained the sums for

            himself. Id. ¶ 6.




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                     Plaintiff also claims that it commenced this proceeding only after it was

            made aware that the property was no longer to be sold. Id. ¶ 7. This is untrue.

            Id. The Plaintiff filed its complaint on January 9, 2017. However, at the time the

            property was still listed for sale with CBRE, with whom the Plaintiff claims to have

            been in touch. Indeed, the Plaintiff himself admits that he was told by CBRE that

            the property was only taken off the market on 15 May 2017, i.e. over 4 months

            after the Plaintiff filed the complaint, supposedly on the basis of the property not

            being for sale. In fact, as late as 1st of March 2017, the Defendant was still

            receiving offers on the property, demonstrating that the sale search was still

            ongoing. Id.

                     As stated above, Plaintiff’s claim to 1% of the sale of the property is not

            yet ripe, as the property has not yet been sold.

                     Since Defendant complied with the clear terms of the Modification, the

            Summons and Complaint must be dismissed and the Notice of Pendency must

            be cancelled and dismissed of record.



                                                III. CONCLUSION

                     Defendant’s motion must be granted in its entirety, together with other

            such further relief the court may deem just and proper.

                     No prior application has been made for the relief requested herein.




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            Dated: New York, New York
                   June 27, 2017


                                                  Respectfully submitted,

                                                  PEYROT & ASSOCIATES, PC

                                                  By:   /s/ David Van Leeuwen
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